   Case 6:08-cr-00015-BAE-GRS Document 69 Filed 04/01/09 Page 1 of 4



                                                                                                         )URT

                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA                               2009 APR - I MI 909
                              STATESBORO DIVISION

UNITED STATES OF AMERICA                       )                                            5IJ.UI5T.10FGA.
                                               )       Case No.: 6:08-CR-15
               V.                             )
                                              )
CHRISTIAN J. NAVOY, et al.                    )

                         PRELIMINARY ORDER OF FORFEITURE

IT IS HEREBY ORDERED THAT:

       1.      As a result of the guilty plea to Count One of the Indictment, for which the

government sought forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c), and 21

U.S.C. § 853, Defendant Christian J. Navoy shall forfeit to the United States any property

constituting or derived from proceeds obtained directly or indirectly, as a result of the commission

of the offense(s) charged and any property used or intended to be used in any manner or part to

facilitate the commission of the offense(s) charged.

       2.      As a result of the Consent to Forfeiture Agreement entered into as part of the Pre-

Trial Diversion Agreement with the government, Defendant Jennifer L. Navoy shall forfeit to the

United States any property constituting or derived from proceeds obtained, directly or indirectly, as

a result of the commission of the offense(s) charged and any property used or intended to be used,

in any manner or part, to facilitate the commission of the offense(s) charged.

       3.      The Court has determined, based on evidence in the Plea Agreement and the Consent

to Forfeiture Agreement, that the following property is subject to forfeiture pursuant to 18 U.S.C.

§ 981(a)(1)(C), 28 U.S.C. § 2461(c), and 21 U.S.C. § 853, and that the government has established

the requisite nexus between such property and the offense(s):


                                                   1
   Case 6:08-cr-00015-BAE-GRS Document 69 Filed 04/01/09 Page 2 of 4




                        (1)      8585 Sentinae Chase Drive, Roswell, Georgia 30076
                        (2)      146 Golf Club Drive, Santa Rosa Beach, Florida 32459
                        (3)      Lot 17 in Country Club Hills Subdivision, PARCEL NO.
                                 342S20332910000170, Walton County, Florida
                        (4)      2003 AMGE Hummer Sport Utility Vehicle, VIN #
                                 5GRGN23UX3H133220
                        (5)      2007 Jeep, YIN # 1J4GA39107L 137550
                        (6)      2006 Lotus Elise, YIN # SCCPCJ1116HL30645
                        (7)      Approximately $445,736.05 in U.S. Currency
                        (8)      $7400 in United States Postal Money Orders

(collectively, "the Property")

        4. Upon entry of this Order, the United States Marshal or his designee is authorized to

seize the Property, whether held by the Defendants or by a third party, and to conduct any discovery

proper in identifying, locating or disposing of the Property subject to forfeiture, in accordance with

Fed. R. Grim. P. 32.2(b)(3).

                Upon entry of this Order, the United States is authorized to commence any applicable

proceeding to comply with statutes governing third party rights, including giving notice of this Order.

        6.      The United States shall publish notice of the Order and its intent to dispose of the

property in such a manner as the United States may direct. The United States may also, to the extent

practicable, provide written notice to any person known to have an alleged interest in the Property.

        7.      Any person, other than the above named Defendants, asserting a legal interest in the

Property may, within thirty (30) days of the final publication of notice or receipt of notice, whichever

is earlier, petition the court for a hearing without a jury to adjudicate the validity of his alleged

interest in the Property and for an amendment of the Order of Forfeiture, pursuant to 21 U.S.C. §

853.

        8.      Pursuant to Fed. R. Grim. P. 32.2(b)(3), this Preliminary Order of Forfeiture shall



                                                   2
IL
        Case 6:08-cr-00015-BAE-GRS Document 69 Filed 04/01/09 Page 3 of 4




     become final as to the Defendants at the time of sentencing and shall be made part of the sentence

     and included in the judgment. If no third party files a timely claim, this Order shall become the Final

     Order of Forfeiture, as provided by Fed. R. Crim, P. 32.2(c)(2).

               9.     Any petition filed by a third party asserting an interest in the Property shall be signed

     by the petitioner under penalty of perjury and shall set forth the nature and extent of the petitioner's

     right, title or interest in the Property, the time and circumstance of the petitioner's acquisition of the

     right, title or interest in the Property, any additional facts supporting the petitioner's claim and the

     relief sought.

               10.    After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A) and

     before a hearing on the petition, discovery may be conducted in accordance with the Federal Rules

     of Civil Procedure upon a showing that such discovery is necessary or desirable to resolve factual

     issues.

               11.    The United States shall have clear title to the Property following the Court's

     disposition of all third-party interests or, if none, following the expiration of the period provided in

     21 U.S.C. § 853(n)(2) for the filing of third-party petitions.

               12.    The Court shall retain jurisdiction to enforce this Order and to amend it as necessary,

     pursuant to Fed. R. Crim. P. 32.2(e).

               13.    The Clerk of the Court shall forward four certified copies of this Order to Assistant

     United States Attorney, Jessica L. McClellan, United States Attorney's Office for the Southern

     District of Georgia, 100 Bull Street, Suite 201, Savannah, Georgia 31401.




                                                          3
      Case 6:08-cr-00015-BAE-GRS Document 69 Filed 04/01/09 Page 4 of 4




10 0 3[II1) 19 111 ai ti DI 03


         This/ #                 date of          20

                                             I,
                                             DGM3. AVANT
                                           UNITED STATE'DISTRICT COURT
                                           SOUTHERN DISTRICT OF GEORGIA


Prepared by: Jessica L. McClellan
Assistant United States Attorney
Georgia Bar No. 235515
100 Bull Street
Savannah, Georgia 31401
(912) 652-4422

U.S. v. Navoy
CR6:08-15




                                            4
